     Case 2:22-cr-00482-GW Document 17 Filed 12/06/22 Page 1 of 1 Page ID #:35



      CUAUHTEMOC ORTEGA (Bar No. 257443)
 1    Federal Public Defender
      JULIA DEIXLER (Bar No. 301954)
 2    Deputy Federal Public Defender
      (E-Mail: Julia_Deixler@fd.org)
 3    321 East 2nd Street
      Los Angeles, California 90012-4202
 4    Telephone: (213) 894-7550
      Facsimile: (213) 894-0081
 5
      Attorneys for Defendant
 6    JERRY BOYLAN
 7
 8                               UNITED STATES DISTRICT COURT
 9                           CENTRAL DISTRICT OF CALIFORNIA
10                                      WESTERN DIVISION
11
12    UNITED STATES OF AMERICA,                          Case No. 2:22-CR-482-GW
13                  Plaintiff,                           NOTICE OF APPEARANCE
14           v.
15    JERRY BOYLAN,
16                  Defendant.
17
18           PLEASE TAKE NOTICE that Deputy Federal Public Defender Julia Deixler,
19    hereby gives notice that she has been assigned to represent Defendant Jerry Boylan,
20    along with Georgina Wakefield, in this matter.
21           Please make all necessary changes to the Court’s case management/electronic
22    filing system to ensure that Deputy Federal Public Defender Julia Deixler receives all
23    e-mails relating to filings in this case.
24                                                Respectfully submitted,
25                                                CUAUHTEMOC ORTEGA
26                                                Federal Public Defender

27    DATED: December 6, 2022               By: /s/ Julia Deixler
28                                            JULIA DEIXLER
                                              Deputy Federal Public Defender
